AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District of Wisconsin


                         United States                              )
                             Plaintiff                              )
                                v.                                  )      Case No.    25-mj-376
                         Timothy Bea                                )
                            Defendant                               )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court. I appear in this case from the FDSW, Inc. as
          counsel for:

         Timothy Bea                                                                                                            .


Date:         04/21/2025                                                                     /s/ Joshua D. Uller
                                                                                              Attorney’s signature

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